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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:04CR294
                                            )
             Plaintiff,                     )
                                            )                     ORDER
             vs.                            )
                                            )
GLENN E. WAGNER,                            )
                                            )
             Defendant.                     )

      Before this court is the defendant’s motion to reduce sentence pursuant to the crack

cocaine Amendment 706 (Filing No. 199).

      Accordingly,

      IT IS ORDERED that:

      1.     A hearing is scheduled for August 11, 2008, at 9:30 a.m., in Courtroom No.

             2, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,

             Nebraska, before the undersigned;

      2.     The defendant may participate by telephone in the hearing.             Defense

             counsel shall provide the undersigned with the defendant’s telephone

             number at least 24 hours in advance of the hearing if the defendant wishes

             to participate; and

      3.     The Marshal is directed not to return the defendant to the district.

      DATED this 8th day of August, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
